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                 EXHIBIT A
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                                                    22SL-CC04607 - KEITH ROBERTS V BIOMET, INC. ET AL (E-CASE)

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  11/09/2022                      Agent Served
                                  Document ID - 22-SMCC-8699; Served To - SELECT ORTHOPEDICS, INC.; Server - ; Served Date - 03-NOV-22; Served Time -
                                  00:00:00; Service Type - Sheriff Department; Reason Description - Served
                                  Summons Personally Served
                                  Document ID - 22-SMCC-8700; Served To - WEIBLE, JACOB; Server - ; Served Date - 03-NOV-22; Served Time - 00:00:00; Service
                                  Type - Sheriff Department; Reason Description - Served

  11/07/2022                      Affidavit Filed
                                  Affidavit of Service - Weible.
                                      Filed By: JAMES D. O'LEARY
                                      On Behalf Of: KEITH ROBERTS
                                  Affidavit Filed
                                  Affidavit of Service - Select Orthopedics.
                                      Filed By: JAMES D. O'LEARY

  10/31/2022                      Summ Issd- Circ Pers Serv O/S
                                  Document ID: 22-SMOS-1003, for BIOMET U.S. RECONSTRUCTION, LLC. Summons Attached in PDF Form for Attorney to Retrieve
                                  from Secure Case.Net and Process for Service.
                                  Summ Issd- Circ Pers Serv O/S
                                  Document ID: 22-SMOS-1002, for BIOMET, INC..Summons Attached in PDF Form for Attorney to Retrieve from Secure Case.Net and
                                  Process for Service.
                                  Summons Issued-Circuit
                                  Document ID: 22-SMCC-8701, for BIOMET JONES & ASSOCIATES, INC..Summons Attached in PDF Form for Attorney to Retrieve from
                                  Secure Case.Net and Process for Service.
                                  Summons Issued-Circuit
                                  Document ID: 22-SMCC-8700, for WEIBLE, JACOB.Summons Attached in PDF Form for Attorney to Retrieve from Secure Case.Net and
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                            Process for Service.
                            Summons Issued-Circuit
                            Document ID: 22-SMCC-8699, for SELECT ORTHOPEDICS, INC..Summons Attached in PDF Form for Attorney to Retrieve from Secure
                            Case.Net and Process for Service.
                            Summons Issued-Circuit
                            Document ID: 22-SMCC-8698, for BIOMET MANUFACTURING, LLC, F/K/A BIOMET MANUFACTURING CORP.Summons Attached in
                            PDF Form for Attorney to Retrieve from Secure Case.Net and Process for Service.
                            Summons Issued-Circuit
                            Document ID: 22-SMCC-8697, for BIOMET ORTHOPEDICS, LLC.Summons Attached in PDF Form for Attorney to Retrieve from Secure
                            Case.Net and Process for Service.

  10/26/2022                Filing Info Sheet eFiling
                               Filed By: JAMES D. O'LEARY
                            Motion Special Process Server
                            Request for Appointment of Process Server.
                              Filed By: JAMES D. O'LEARY
                              On Behalf Of: KEITH ROBERTS
                            Pet Filed in Circuit Ct
                            PETITION.
                              Filed By: JAMES D. O'LEARY
                            Judge Assigned
                            DIV 4
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             IN THE CIRCUIT COURT OF THE COUNTY OF ST LOUIS
                            STATE OF MISSOURI

KEITH ROBERTS,                                  Cause No.

                             Plaintiff,         Division:

versus

BIOMET, INC.;                                   JURY TRIAL DEMANDED
Serve: Registered Agent,
Corporation Service Company
135 N. Pennsylvania Street, Ste. 1610
Indianapolis, Indiana 46204

BIOMET ORTHOPEDICS, LLC;
Serve: Registered Agent
CSC-Lawyers Incorporating Service Company
221 Bolivar Street
Jefferson City, Missouri 65101

BIOMET U.S. RECONSTRUCTION, LLC;
Serve: Registered Agent
Corporation Service Company
135 N. Pennsylvania Street, Ste. 1610
Indianapolis, Indiana 46204

BIOMET MANUFACTURING, LLC, f/k/a
BIOMET MANUFACTURING CORPORATION;
Serve: Registered Agent
CSC-Lawyers Incorporating Service Company
221 Bolivar Street
Jefferson City, Missouri 65101

SELECT ORTHOPEDICS, INC.;
Serve: Registered Agent
Kevin L. King
9811 S. 40 Dr.
St. Louis, Missouri 63124

BIOMET JONES & ASSOCIATES, INC.;
Serve: Secretary of State
600 W. Main
Jefferson City, Missouri 65101

JACOB WEIBLE




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 Serve: Personal
 229 Green Drive
 O’Fallon, Missouri 63368

                                         Defendants.

                                             PETITION

        COMES NOW Plaintiff, KEITH ROBERTS, by and through her undersigned attorneys,

O’LEARY, SHELTON, CORRIGAN, PETERSON, DALTON & QUILLIN, LLC, and for

his Petition against Defendants Biomet, Inc., Defendant Biomet Orthopedics, LLC, Defendant

Biomet U.S. Reconstruction, LLC, and Biomet Manufacturing, LLC, Select Orthopedics, Inc.,

Biomet Jones & Associates, Inc., and Jacob Weible jointly and severely, states as follows:

                INTRODUCTION, PARTIES, VENUE AND JURISDICTION

       1.      This is an action for products liability on behalf of Plaintiff Keith Roberts against

Defendants who were responsible for the defective hip system, the M2a 38, which was implanted

in Plaintiff and caused significant pain and elevated metal levels, resulting in revision surgery.

       2.      The particular components at issue in this case were designed, manufactured, sold,

marketed, and distributed by Defendants Biomet, Inc., Defendant Biomet Orthopedics, LLC,

Defendant Biomet U.S. Reconstruction, LLC, and Biomet Manufacturing, LLC (“Biomet

Defendants”) as the “M2a 38 Metal-on-Metal” hip system (hereinafter “M2a 38” or “38 System”)

and distributed in the State of Missouri.

       3.      Defendants Select Orthopedics, Inc., Biomet Jones & Associates, Inc., and Jacob

Weible (“Distributor Defendants”) marketed, promoted, distributed, and sold the 38 System that

is the subject of this lawsuit in the State of Missouri.

       4.      At all times relevant to this Petition, Plaintiff Keith Roberts, (hereinafter,

“Plaintiff”) was and is a resident of the State of Missouri.




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          5.   Defendant Biomet, Inc. is a corporation organized and existing under the laws of

the State of Indiana with its primary place of business in Warsaw, Indiana. Biomet, Inc. designed,

manufactured, marketed, promoted, and sold the M2a-38 that is the subject of this lawsuit.

Defendant Biomet, Inc. is and was at all times relevant herein doing business in and/or having

directed its activities at the State of Missouri and has, at all relevant times, conducted continuous

and systematic business in the State of Missouri and throughout the United States.

          6.    On information and belief, Defendant Biomet Orthopedics, LLC is, and at all

times relevant here to was, a wholly owned subsidiary of Defendant Biomet U.S. Reconstruction,

LLC and is a limited liability corporation organized and existing under the laws of the State of

Indiana with its primary place of business in Warsaw, Indiana. Defendant Biomet Orthopedics,

LLC designed, manufactured, marketed, promoted, and sold the M2a 38 that is the subject of this

lawsuit. Defendant Biomet Orthopedics, LLC is and was at all times relevant herein doing business

in and/or having directed its activities at the State of Missouri and has, at all relevant times,

conducted continuous and systematic business in the State of Missouri and throughout the United

States.

          7.   On information and belief, Defendant Biomet U.S. Reconstruction, LLC is, and at

times relevant to this Petition was, a wholly owned subsidiary of Defendant Biomet, Inc., and an

Indiana Corporation with its principal places of business in Warsaw, Indiana. Biomet US

Reconstruction, LLC, designed, manufactured, marketed, promoted, and sold the M2a 38 that is

the subject of this lawsuit and was at all times relevant herein doing business in and/or having

directed its activities at the State of Missouri, and has, at all relevant times, conducted continuous

and systematic business in the State of Missouri and throughout the United States.




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       8.      On information and belief, Defendant Biomet Manufacturing, LLC, is formerly

known as Biomet Manufacturing Corporation. At all times relevant to this Petition was, a wholly

owned subsidiary of Defendant, Biomet, Inc., and an Indiana Corporation with its principal place

of business in Warsaw, Indiana. Defendant Biomet Manufacturing Corp. designed, manufactured,

marketed, promoted, and sold the M2a- 38™ Hip Implant System that is the subject of the lawsuit

and was at all times relevant herein doing business in and/or having directed its activities at the

State of Missouri, and has, at all relevant times, conducted continuous and systematic business in

the State of Missouri and throughout the United States.

       9.      At all times relevant to this Petition, Defendant Select Orthopedics, Inc.

(hereinafter, “Select”) was and is a Missouri Corporation with its principal place of business in St.

Louis, Missouri and as such is a citizen of the State of Missouri.

       10.     At all times relevant to this Petition, Defendant Biomet Jones & Associates, Inc.

(hereinafter, “Jones”) was and is a Kansas corporation, licensed to do business in the state of

Missouri with a registered agent located in the State of Missouri.

       11.     At all times relevant to this Petition, Defendant Jacob Weible (hereinafter,

“Weible”), was and is a resident of the State of Missouri.

       12.     Upon information and belief, at all times relevant to this Petition, Defendants Select

and Jones operated by and through their agents, servants and employees, including Defendant

Weible, who acted within the course and scope of his employment with Defendant Select, and

marketed, sold, supplied and distributed Biomet’s products, including the 38 System in the State

of Missouri.

       13.     Upon information and belief, Defendants Select and Jones relationship with Biomet

is defined in a confidential distributorship agreement between Defendants Select and Jones and




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Biomet.

       14.     Upon information and belief, Defendants Select and Jones’ agents, servants and/or

employees, including Defendant Weible complete sales calls on surgeons wishing to acquire hip

replacement components manufactured by Biomet for implantation in patients.

       15.     Upon information and belief, at all times relevant to this Petition, Defendants, each

of them, received commissions and intended to financially profit from marketing, selling,

supplying and distributing the 38 System.

       16.     Upon information and belief, Defendants Select and Jones did, in fact, receive

payment from Biomet in relation to the sale of the 38 System sold to and implanted in Plaintiff.

       17.     Within the State of Missouri, Defendants Select and Jones are in the chain of

distribution for Biomet products, including specifically, the 38 System.

       18.     Defendants Select and Jones, as a result of their roles in the chain of distribution of

the 38 System, are proper parties for product liability claims involving the 38 System, which they

market, sell, supply or distribute.

       19.     Jurisdiction is proper in Missouri State Courts because Plaintiff and Distributor

Defendants are residents of the State of Missouri and this matter involves a product that was

marketed, sold, distributed and implanted in Plaintiff in the State of Missouri whereby the Biomet

Defendants purposefully availed themselves of business opportunities within the state of Missouri.

       20.     Venue is proper in St. Louis County as Plaintiff was first harmed by Defendants in

St. Louis County.

                                 TOTAL HIP ARTHROPLASTY

       21.     Total Hip Arthroplasty (hereafter “THA”) is the term used to describe surgery

wherein a patient’s natural hip anatomy is replaced with synthetic components. THA is also




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commonly referred to as “hip replacement surgery.” A patient may need a THA for a variety of

medical reasons including degenerative bone disease and avascular necrosis.

       22.     THA involves invasive and traumatic surgery in which a surgeon saws and removes

a considerable portion of bone, including the ball, from the top of the femur. In place of the

removed bone, the surgeon places a metal shaft, called a “stem,” down into what remains of the

femoral bone. The portion of the stem which is housed inside the femur may be affixed to the

bone via use of bone cement or by a porous coating on the synthetic surface of the stem into which

the natural bone will grow. The top of the synthetic metal stem, referred to as the “neck,” is not

housed inside the femur and remains completely exposed inside the body. A component called a

“taper,” which can be roughly described as similar to a metal sleeve, fits on top of, and around, the

exposed neck of the stem. A synthetic ball, whether made of metal, plastic, or ceramic, is then

attached on top of, and around, the taper.

       23.     The surgeon also replaces the anatomical hip socket, the acetabulum, with an

artificial “cup” against which the new, synthetic ball articulates. This cup is sometimes referred

to as an “acetabular cup.” To implant an acetabular cup, the surgeon removes bone from the natural

acetabulum in an effort to create a new hip socket large enough to house the synthetic cup. The

surgeon then places the synthetic cup into the newly formed hip socket. The cup affixes to the

bone either through the use of screws, bone cement, a porous metal coating on the back of the

synthetic cup into which the natural bone will grow, or by a combination of the three.

       24.     A successful THA results in a hip prosthesis that should last 25+ years in a patient,

and does not cause catastrophic tissue and muscle loss.

       25.     If a hip prosthesis fails in a patient, the patient’s surgeon may recommend a

“revision” THA procedure in order to replace the failed hip components.




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          26.   A revision THA is extremely traumatic to a patient, multitudes more so than a

primary THA. The surgery is typically much longer, with greater blood loss, greater surgeon

difficulty, and greater mortality rate. The rehabilitation period for a revision THA can be much

longer.

          27.   In most revision THA procedures, the synthetic components that must be replaced

are either the acetabular cup or the femoral ball or both.

          28.   Further, depending on the mode of failure for a hip prosthesis, the patient’s natural

anatomy may be so damaged that subsequent revision hip implants will be more likely to fail

prematurely.

                                    HIP IMPLANT DESIGN

          29.   Modern techniques for performing THA and for designing and manufacturing hip

replacement components are based on a design introduced by Sir John Charnley in 1962. The

design he created and used to perform THA consisted of three components: a one-piece stainless-

steel femoral stem and head; an acetabular cup made of Ultra High Molecular Weight Polyethylene

(a very hard type of plastic); and acrylic bone cement. A picture is found below for reference:




          30.   Long-term studies of patients undergoing a Charnley THA in the 1960s and early

1970s show excellent results. These studies found that between 85% and 96% of patients still had




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a well-functioning Charnley hip 25 years after implant. Another study found that 78% of patients

still didn’t need to have their original Charnley hip replaced even after 35 years.

       31.     The Charnley hip was not without its weaknesses. The one piece design of the

femoral stem and head did not allow surgeons to adjust the implant for any leg-length discrepancies

due to surgery. Also, the design of the acetabular cup required the surgeon to apply bone cement

to the back of the cup in order to affix it to the natural hip socket. These design elements

contributed to a difficult and inflexible surgical procedure for surgeons. Further, the polyethylene

plastic used for the cup could wear off as the stainless steel ball articulated inside and against it.

As these plastic particles wore off, they damaged local tissue and bone in the patient and could

serve to loosen the acetabular cup from the acetabular bone. However, these shortcomings did not

occur often, as evidenced by the design’s long term survivorship statistics.

       32.     Over time, varying designs and various compounds of plastic, ceramic, and metal

have been implemented for the stem, femoral head (or ball) and the acetabular cup in an effort to

improve upon the Charnley design.

       33.     Briefly, in the 1960s, the orthopedic device industry experimented with various

metal-on-metal (hereafter “MoM”) designs for hip implants. This design calls for a metal femoral

head to articulate directly against the metal interior of an acetabular cup. The perceived benefit of

this design was the idea that metal was stronger than plastic and would hopefully last longer and

wear less. Further, the strength of the metal would allow for designs that increased range of

motion. However, by the mid-1970s, MoM hip implants were completely abandoned in favor of

utilizing polyethylene components.

       34.     Factors that led to the complete abandonment of the MoM designs by the early

1970s for MoM hip implants related to:




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               a.   High rates of early revision;
               b.   The early success of the Charnley prosthesis;
               c.   Frictional torque between the components;
               d.   Concerns over the unknown carcinogenic and toxic effects of metal wear;
               e.   Concerns over metal sensitivity in patients;
               f.   High rates of infection; and
               g.   Increased bone strain and fatigue fractures of the bones surrounding the
                    implant.

       35.     Due to the limited use and subsequent complete abandonment of MoM technology

by the mid-1970s, there had been almost no medical or scientific advancement in decades relating

to understanding the actual, clinical risks associated with using MoM technology for hip implants.

In fact, the only limited clinical history associated with MoM going into the new millennium was

that they posed unreasonable risks to patients that were not present in the Charnley prosthesis and

they offered no additional benefits compared to the Charnley prosthesis.

       36.     Despite the MoM hiccup in the evolution of THA surgery, various other

improvements have been made to the Charnley design in recent decades.

       37.     Most modern acetabular cups now implement some form of porous coating on the

backside where the cup affixes to the hip socket. This allows for bone to naturally grow into the

pores so that the surgeon does not need to use screws or bone cement to seat the cup in the bone.

       38.     Typically, modern acetabular cups are “modular”. This means the cups have

multiple components. The components of a modular acetabular cup include the cup, which is

implanted into the hip socket, and a “liner” which is placed on the inside of the cup and forms the

surface against which the femoral head (or ball) articulates.

       39.     Another improvement was the use of Highly Cross-Linked Ultra High Molecular

Weight (“HXUHMW”) Polyethylene instead of Charnley’s original Ultra High Molecular Weight




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(“UHMW”) Polyethylene. This improved polyethylene is stronger, harder, and reduces the

amount of plastic wear produced during articulation of components.

       40.     HXUHMW Polyethylene Hip Implants were introduced years prior to Defendants’

MoM implant.

       41.     Modern THA implants typically also have a separate femoral stem and femoral

head, instead of Charnley’s original one-piece design. These two pieces attach at the top of the

stem, or “neck.” The stem is nearly always made of metal (the particular metal alloy varies

depending on manufacturer).

       42.     The femoral head can be made of HXUHMW Polyethylene or various forms of

metal or ceramic.

       43.     These modern designs have resulted in highly successful implants intended to last

and capable of lasting 20+ years in a patient.

       44.     In fact, the Biomet Defendants have sold HXUHMW Polyethylene hip systems

since the mid-1990s.

                        THE FDA’S 510(k) CLEARANCE PROCESS

       45.     The 510(k) clearance process refers to Section 510(k) of the Medical Device

Amendments of 1976 (hereafter “MDA”) of the Federal Food, Drug, and Cosmetic Act. Under

this process, device manufacturers are only required to notify the FDA at least 90 days before they

market a device claimed to be “substantially equivalent” to a device the FDA approved for sale

prior to 1976, when the MDA was enacted.

       46.     No clinical testing is required under this process.

       47.     Subsequent amendments to the MDA allowed for 510(k) clearance for products

deemed “substantially equivalent” to post-MDA, 510(k)-cleared devices.




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       48.        Through this domino effect, devices deemed “substantially equivalent” to devices

previously deemed “substantially equivalent” to devices approved for sale by the FDA prior to

1976 could be sold to patients in a matter of 90 days without any clinical testing.

       49.        Clearance for sale under the 510(k) process does not equate to FDA approval of the

cleared device.

       50.        The M2a 38 utilized the 510(k) process in order to be approved for sale.

       51.        The M2a 38 did not undergo any clinical testing.

       52.        In its 510(k) application, the Biomet Defendants alleged the M2a 38 was

substantially similar to devices that were abandoned prior to 1976.

       53.        In 2012, at the request of the FDA, the National Institute of Health (hereafter

“NIH”) conducted a thorough review of the 510(k) process, coming to the following major

conclusions:

                  The 510(k) clearance process is not intended to evaluate the safety and
                  effectiveness of medical devices with some exceptions. The 510(k)
                  process cannot be transformed into a pre-market evaluation of safety
                  and effectiveness so long as the standard for clearance is substantial
                  equivalence to any previously cleared device.

       54.        The NIH explained, “The assessment of substantial equivalence does not require

an independent demonstration that the new device provides a ‘reasonable assurance of safety and

effectiveness.’” Further, the NIH even pointed out that the classification of predicate devices

approved for sale prior to the 1976 MDA “did not include any evaluation of the safety and

effectiveness of individual medical devices . . . Thus is common for devices to be cleared through

the 510(k) program by being found substantially equivalent to devices that were never individually

evaluated for safety and effectiveness, either through the original device classification program or

through the 510(k) process.”




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       55.     The Biomet Defendants utilized sales representatives, who were agents, servants

and/or employees of Defendants Select and Jones, including Defendant Weible, who were

responsible for educating Plaintiff’s orthopedic surgeon regarding the claimed advantages of the

products at issue in this Petition, answering any questions Plaintiff’s orthopedic surgeon asked

regarding the products, assisting Plaintiff’s orthopedic surgeon at surgery regarding the products,

and selling the products to Plaintiff through her orthopedic surgeon.

       56.     Defendants Select and Jones, by and through their sales representatives, including

Defendant Weible, were regularly present within the operating room during the implantation of

the medical devices, including the 38 System, they distributed and sold.

       57.     Defendants Select and Jones, by and through their sales representatives, including

Defendant Weible received education and training on the surgical techniques, scientific studies,

and purported benefits related to the products they distributed and sold in their sales territory from

the Biomet Defendants, including the 38 System.

       58.     The Biomet Defendants, Defendants Select and Jones, trained and educated their

sales representatives, including Defendant Weible, regarding the 38 System, including orthopedic

and surgical training, product design rationale, surgical technique tips, training in the use of

implanting tools, training in selecting the hip replacement components to mate with the products

at issue, and training on how to sell to orthopedic surgeons, including training on the advantages

of the 38 System over its competitors.

       59.     The Biomet Defendants provided instructional materials to Defendants Select and

Jones, including videos of surgeries and exemplar surgical instruments, in an effort to train

Defendants Select and Jones (and sales representatives of Defendants Select and Jones, including

Defendant Weible) on proper surgical techniques regarding the 38 System.




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       60.     The Biomet Defendants insisted that Defendants Select and Jones and their sales

representatives, including Defendant Weible take time to review surgical instructions and practice

with provided surgical instruments before attending surgeries.

       61.     The Biomet Defendants Select and Jones, by and through their sales

representatives, including Defendant Weible, organized events where surgeons in their sales

territory could attend group viewings of live surgeries via-webcast to promote the products at issue

and to educate surgeons on surgical techniques for the products at issue.

       62.     Defendants Select and Jones, by and through their sales representatives, including

Defendant Weible, organized events where surgeons in their sales territory could participate in or

attend cadaver surgeries in order to promote the products at issue and to educate surgeons on

surgical techniques for the products at issue.

       63.     Defendants Select and Jones, by and through their sales representatives, including

Defendant Weible, organized educational courses where a select surgeon would be paid by either

Defendants Select or Jones or by the Biomet Defendants to promote the products at issue and

discuss surgical techniques with surgeons in Defendants Select and Jones’ territory

       64.     Defendants Select and Jones, by and through their sales representatives, including

Defendant Weible, took part in conferences, either in person or by telephone or web-cast, with the

Biomet Defendants Biomet in order to receive updates on metal-on-metal concerns.

       65.     Prior to Plaintiff’s THA surgery, Defendants Select and Jones, by and through their

sales representatives, including Defendant Weible provided information to Plaintiff’s orthopedic

surgeon, including but not limited to: the advantages of the products at issue compared to

competitors’ products; information regarding the design rationale for the products at issue; surgical

techniques and use of instrumentation during the implanting of the products at issue.




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           66.     The above information was provided to Plaintiff’s orthopedic surgeon with the

intended purpose of convincing and inducing Plaintiff’s orthopedic surgeon to use the products at

issue instead of other hip implants available for implantation in Plaintiff.

           67.     At all times relevant to this Petition, Plaintiff’s orthopedic surgeon, nurses and

hospital staff relied on the information and assistance from Defendants Select and Jones and their

sales representatives, including Defendant Weible.

                           BIOMET DEFENDANTS M2a 38 HIP SYSTEM

           68.     The Biomet Defendants design and manufactures various medical devices and

implants.

           69.     The Biomet Defendants marketed themselves as “a leader in the design and

manufacture of total joint replacement products.”1

           70.     Despite the early failure of metal-on-metal technology, and despite the near

complete lack of a clinical safety record due to the previous abandonment of the technology,

Biomet decided to begin marketing metal-on-metal hips again in 1996.

           71.     According to the Biomet Defendants’ marketing, “During the past decade, Biomet

has emerged as a recognized leader in metal-on-metal articulations.”

           72.     In 2001, the Biomet Defendants and the Distributor Defendants began marketing a

“monoblock” metal on metal acetabular cup called the M2a-Taper by and through Defendants

Select, Jones and Weible.

           73.     A monoblock cup is different from a modular cup in that a monoblock cup does not

utilize a liner. Instead, the portion of the cup with porous coating on the outside (which is intended

to fuse with the natural bone) and the inside surface of the cup (which articulates against the



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    According to www.biomet.com/orthopedics/index.cfm. (as archived from March 7, 2009.)



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femoral ball) are part of one, continuous metal component.

         74.   Utilizing a monoblock design allows for the design of a larger articulating surface

inside the cup and a larger femoral ball. The intended end benefit of this design is greater range

of motion and stability.

         75.    However, this design also increases the surface area of metal-on-metal

articulation. The increased surface area risks increasing friction between the metal components

and increasing wear.

         76.   In 2003, Biomet released the 38 System, a monoblock metal-on-metal hip

replacement system. Below is a picture of the 38 acetabular cup and femoral ball, as found in

Biomet’s marketing brochures:




         77.   The 38 hip system utilizes a monoblock metal cup made of a Cobalt Chromium

alloy.

         78.   The back of the 38 cup utilizes a porous coating intended to promote bone fixation.

         79.   The 38 hip system also utilizes a metallic femoral ball made of a Cobalt Chromium

alloy.

         80.   The femoral ball of the 38 attaches to the neck of whatever stem is mated with it

via a taper made of Titanium.




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       81.     All Defendants marketed the 38 as having the lowest cobalt ion levels of four

Metal-on-Metal implant designs.

       82.     In various marketing materials, the Biomet Defendants, Defendants Select, Jones

and Weible marketed the 38 as having three-year survivorship rates of “over 98%” and “99.2%.”

       83.     At all times relevant hereto, the Biomet Defendants Select, Jones and Weible

alleged that the 38 hip system “delivers a clinically proven, unique design that has shown a

statistically significant lower revision rate than other MoM implants.”

                 PROBLEMS WITH THE BIOMET M2a 38 HIP SYSTEM

       84.     The M2a 38 was not adequately tested for safety prior to its release. The only

testing conducted was “mechanical testing” to determine “substantial equivalence” to the predicate

devices listed on the 510(k) report. No clinical testing was performed whatsoever.

       85.     The various metal components within the 38 System cause metal “wear” to be

released into the patient’s body.

       86.     Metal wear is of a particularly small, “microparticle” or “ion” size relative to wear

due to plastic components.

       87.     Metal wear microparticles and ions pose a greater danger to local, regional, and

systemic body parts because of their smaller size.

       88.     These microparticles can cause bone death, tissue death, excessive fluid build-up,

and pseudo-tumors, among other things.

       89.     The destructive effect may also serve to loosen the acetabular cup. A loose

acetabular cup, in turn, causes greater amounts of metal wear.

       90.     Further, research suggests that metal wear can cause neurological problems and

carcinogenic cell activity regionally and systemically.




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       91.     The degenerative effects on the patient’s anatomy may be so great as to decrease

the chances of success for any replacement implant necessitated by the failure of the 38 System.

       92.     Despite Defendants’ marketing, promotion and claims of the advantages of the 38

System, the product is and always was deeply flawed and defective.

       93.     The testing done on the product prior to launch was inadequate and not

representative of real-world, clinical situations.

       94.     Defendants marketed and promoted the 38 System as safe merely based on a lack

of conclusive connection to hazards, as opposed to an affirmative clinical determination of safety.

       95.     Indeed, Defendants knew that there was no clinical evidence to support the

contention that the product was safe or effective.

       96.     Upon information and belief, prior to Plaintiff’s implant and revision surgeries,

Defendants, each of them, were aware of defects and unreasonably high rates of problems with the

38, including, but not limited to high levels of metal wear causing local and/or systemic damage

in patients’ bodies.

       97.     Specifically, Defendants were aware of unreasonably high rates of loosening of the

acetabular component, metallosis, pseudotumors, pain, elevated metal levels, and other maladies

requiring revision of the hip implant.

       98.     Prior to marketing, distributing, and selling the 38, Defendants knew or should have

known that it was not a clinically safe prosthesis.

       99.     Despite knowing or being in a position where they should have known of the

unreasonable risks associated with the 38 System, Defendants began to market, distribute and sell

it.




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       100.    Since its introduction into the market, the 38, like other metal-on-metal hip

replacement systems, experienced an unreasonably high rate of failures worldwide.

       101.    After Defendants began marketing, distributing and selling the 38 System, they

quickly began receiving a high number of reports and warnings from surgeons and others regarding

failed 38 System components.

       102.    Defendants were made aware of 38 failures through communications with customer

surgeons.

       103.    Defendants did not take proper action in response to surgeon reports and warnings.

       104.    Despite knowing or being in a position where they should have known, of the

unreasonable risks associated with the 38 System, Defendants continued to market, distribute and

sell the 38 System.

       105.    Defendants did not provide adequate warning to the public or the medical

community regarding the risks associated with the 38 System.

                         KEITH ROBERTS IMPLANTS AND REVISIONS

       106.    Plaintiff experienced a history of pain in his left hip that caused him to be treated

by Dr. John E. Tessier (“Dr. Tessier”).

       107.    Dr. Tessier determined Plaintiff needed a THA of his left hip.

       108.    On January 23, 2004, Dr. Tessier performed a THA on the left hip at St. John’s

Mercy Medical Center, in St. Louis, Missouri.

       109.    During these THA (also referred to as “implant surgeries”), Dr. Tessier implanted

Plaintiff with a number of Defendants’ products:

               January 23, 2004; Left Implant:

                  a. M2A 38(TM) PF Cup; Ref. US118858; Lot # 528890
                  b. M2A 38(TM) Modular Head; Ref. 11-173661 Lot # 204510




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                       c. Collarless Bi-Metric Porous Stem; Ref. 11-104213; Lot # 872410


        110.        In preparation for this implant surgery, Dr. Tessier—or someone at his direction—

contacted Defendants Select or Jones, or an agent and/or employee of Select, Defendant Weible,

to notify them of the need for the 38 hip system components.

        111.        Defendants Select, Jones and Weible selected and provided the specific 38 System

components for use in Plaintiff and delivered them to Plaintiff’s implant surgery operating room.

        112.        Upon information and belief, an agent or employee of Defendants Select or Jones,

specifically Defendant Weible was present in the operating room during Plaintiff’s implant

surgery.

        113.        After being implanted with the 38 System, Plaintiff experienced elevated cobalt and

chromium levels and significant pain in his left and sought follow-up treatment with Dr. Tessier

for his left hip.

        114.        On January 19, 2018, Dr. Tessier performed a painful and risky revision surgery to

replace Plaintiff’s Left failed 38 System.

                                               COUNT I
                                            NEGLIGENCE –
                                           ALL DEFENDANTS

        115.         Plaintiff incorporates all of the preceding paragraphs of this Petition as if fully set

forth herein and further alleges as follows:

        116.         Defendants had a duty to exercise reasonable care in the design, manufacture,

marketing, sale and/or distribution of the M2a-38 Hip Implant System into the stream of commerce,

including a duty to assure that its product did not pose a significantly increased risk of bodily harm

and adverse events and/or a duty to comply with federal requirements.

        117.         Defendants failed to exercise ordinary care in the design, formulation,




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manufacture, sale, testing, quality assurance, quality control, labeling, marketing, promotion and

distribution of the M2a-38 Hip Implant System into interstate commerce in that

Defendants knew or should have known that the product caused significant bodily harm and was

not safe for use by consumers, and/or through failure to comply with federal requirements.

       118.     Despite the fact that Defendants knew or should have known that the M2a- 38 Hip

Implant System posed a serious risk of bodily harm to consumers, Defendants continued to

manufacture and market the M2a-38™ Hip Implant System for use by consumers and/or continued

to fail to comply with federal requirements.

       119.     Defendants knew or should have known that consumers such as Plaintiff would

foreseeably suffer injury as a result of Defendants’ failure to exercise ordinary care as described

above, including the failure to comply with federal requirements.

       120.     As a direct and proximate result of Defendants’ negligence, Plaintiff suffered

serious physical injury, harm, damages and economic loss, and will continue to suffer such harm,

damages and economic loss in the future.

       121.     Plaintiff seeks damages from Defendants as alleged herein.

       WHEREFORE, Plaintiff prays this Court enter judgment in his favor and against

Defendants, each of them, in an amount that is fair and reasonable in excess of Twenty-Five

Thousand Dollars ($25,000.00), together with costs expended herein, and for such other and

further relief as this Court deems just and proper.




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                                      COUNT II
                         STRICT LIABILITY FAILURE TO WARN –
                                  ALL DEFENDANTS

       122.    Plaintiff incorporates all of the preceding paragraphs of this Petition as if fully set

forth herein and further alleges as follows:

       123.    At the time Defendants marketed, promoted, distributed, and/or sold the 38 System,

it was in an unreasonably dangerous condition when put to a reasonably anticipated use without

knowledge of its characteristics.

       124.    Defendants did not give adequate instructions or warnings of the dangers of the 38

System.

       125.    The 38 System was used in a manner reasonably anticipated by Defendants.

       126.    As a direct and proximate result of the 38 System being distributed or sold by

Defendants without an adequate warning, Plaintiff needlessly suffered the following injuries to

wit: significant pain and suffering; revision surgery; elevated blood-serum metal ion levels; metal

wear; loss of enjoyment of life; and limitation of daily activities; Plaintiff continues suffering from

such injuries and will continue to suffer into the future as a result of the 38 System.

       127.     As a direct and proximate result of the 38 System being distributed or sold by

Defendants without an adequate warning, Plaintiff was caused to incur medical expenses, and will

incur additional medical expenses into the future.

       128.    As a direct and proximate result of the 38 System being distributed or sold by

Defendants without an adequate warning, Plaintiff has experienced emotional trauma and distress,

and will continue to experience ongoing emotional trauma and distress into the future.




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       WHEREFORE, Plaintiff prays this Court enter judgment in his favor and against

Defendants in an amount that is fair and reasonable in excess of Twenty-Five Thousand Dollars

($25,000.00), together with costs expended herein, and for such other and further relief as this

Court deems just and proper.

                                     COUNT III
                         STRICT LIABILITY - DESIGN DEFECT –
                                  ALL DEFENDANTS

       129.     Plaintiff incorporates all of the preceding paragraphs of this Petition as if fully set

forth herein and further alleges as follows:

       130.     Defendants are the manufacturers, designers, distributors, sellers, and/or suppliers

of orthopedic devices including the M2a-38™ Hip Implant System.

       131.     The M2a-38™ Hip Implant System manufactured and supplied by Defendants was

defective in design or formulation in that, when it left the hands of the Defendants, the foreseeable

risks of the product exceeded the benefits associated with its design or formulation, or it was more

dangerous than an ordinary consumer would expect, and/or it failed to comply with federal

requirements for these medical devices.

       132.     The foreseeable risks associated with the design or formulation of the M2a- 38™

Hip Implant System include, but are not limited to, the fact that the design or formulation of the

M2a-38™ Hip Implant System is more dangerous than a reasonably prudent consumer would

expect when used in an intended or reasonably foreseeable manner, and/or it failed to comply with

federal requirements.

       133.     As a direct and proximate result of the Plaintiff’s use of the M2a- 38™ Hip Implant

System as manufactured, designed, sold, supplied, marketed and introduced into the stream of

commerce by Defendants and/or its failure to comply with federal requirements, Plaintiff suffered




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serious physical injury, harm, damages and economic loss, and will continue to suffer such harm,

damages and economic loss in the future.

       134.     Plaintiff seeks damages from Defendants as alleged herein.

       WHEREFORE, Plaintiff prays this Court enter judgment in his favor and against

Defendants in an amount that is fair and reasonable in excess of Twenty-Five Thousand Dollars

($25,000.00), together with costs expended herein, and for such other and further relief as this

Court deems just and proper.

                                COUNT IV
           STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT-
                      THE BIOMET DEFENDANTS ONLY

       135.     Plaintiff incorporates all of the preceding paragraphs of this Petition as if fully set

forth herein and further alleges as follows:

       136.     The Biomet Defendants are the manufacturers, designers, distributors, sellers,

and/or suppliers of orthopedic devices, including the M2a-38 Hip Implant System.

       137.     The 38 Hip Implant System manufactured, designed, sold, distributed, supplied,

and/or placed in the stream of commerce by the Biomet Defendants was defective in its

manufacture and construction when it left the hands of the Biomet Defendants in that it deviated

from product specifications and/or applicable federal requirements for these medical devices,

posing a serious risk of injury and death.

       138.     As a direct and proximate result of the Plaintiff’s use of the Biomet Defendants’

M2a-38 Hip Implant System as manufactured, designed, sold, supplied, and introduced into the

stream of commerce by Defendants and/or the failure to comply with federal requirements,

Plaintiff suffered serious physical injury, harm, damages and economic loss, and will continue to

suffer such harm, damages and economic loss in the future.




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       139.     Plaintiff seeks damages from the Biomet Defendants as alleged herein.

       WHEREFORE, Plaintiff prays this Court enter judgment in his favor and against the

Biomet Defendants in an amount that is fair and reasonable in excess of Twenty-Five Thousand

Dollars ($25,000.00), together with costs expended herein, and for such other and further relief as

this Court deems just and proper.

                              COUNT V
                     STRICT PRODUCTS LIABILITY –
        DEFECT DUE TO NONCONFORMANCE WITH REPRESENTATIONS-
                          ALL DEFENDANTS

       140.     Plaintiff incorporates all of the preceding paragraphs of this Petition as if fully set

forth herein and further alleges as follows:

       141.     Defendants are the manufacturers, designers, distributors, sellers, and/or suppliers

of orthopedic devices, including the M2a-38 Hip Implant System.

       142.     The M2a-38 Hip Implant System manufactured and supplied by Defendants was

defective in that, when it left the hands of Defendants, it did not confirm to representations made

by Defendants concerning the product and/or with applicable federal requirements.

       143.     Defendants made representations to consumers regarding the character or quality

of the M2a-38™ Hip Implant System, including but not limited to, statements that the M2a-38™

Hip Implant System was a safe and durable hip replacement system. They further asserted that the

“Biomet metal-on-metal (MoM) M2a-38™ Large Metal Articulation System offers optimal joint

mechanic restoration and ultra low-wear rates in vivo. Many studies conducted over the last several

decades have shown no definitive correlation of negative health issues to ion levels exhibited form

metal-on-metal implants.”

       144.     Plaintiff and/or Plaintiff’s physicians justifiably relied upon Defendants’

representations regarding the M2a-38™ Hip Implant System when they selected these Biomet




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orthopedic products to be used in surgery.

       145.     As a direct and proximate result of the Plaintiff’s use of the M2a- 38™ Hip Implant

System, and Plaintiff’s reliance on Defendants’ representations regarding the character and quality

of the M2a-38™ Hip Implant System and/or failure to comply with federal requirements, Plaintiff

suffered serious physical injury, harm, damages and economic loss, and will continue to suffer

such harm, damages and economic loss in the future.

         146.   Plaintiff seeks damages from Defendants as alleged herein.

       WHEREFORE, Plaintiff prays this Court enter judgment in his favor and against

Defendants in an amount that is fair and reasonable in excess of Twenty Five Thousand Dollars

($25,000.00), together with costs expended herein, and for such other and further relief as this

Court deems just and proper.

                                      COUNT VI
                            BREACH OF EXPRESS WARRANTY-
                                  ALL DEFENDANTS

       147.     Plaintiff incorporates all of the preceding paragraphs of this Petition as if fully set

forth herein and further alleges as follows:

       148.     Defendants expressly warranted that the M2a-38™ Hip Implant System was a safe

and effective orthopedic device for those patients requiring a hip replacement.

       149.     As a direct and proximate result of Defendants’ breach of warranty, Plaintiff

suffered serious physical injury, harm, damages and economic loss, and will continue to suffer

such harm, damages and economic loss in the future.

       150.     Plaintiff seeks damages from Defendants as alleged herein.




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       WHEREFORE, Plaintiff prays this Court enter judgment in his favor and against

Defendants in an amount that is fair and reasonable in excess of Twenty-Five Thousand Dollars

($25,000.00), together with costs expended herein, and for such other and further relief as this

Court deems just and proper.

                                     COUNT VII
                            BREACH OF IMPLIED WARRANTY-
                                  ALL DEFENDANTS

       151.     Plaintiff incorporates all of the preceding paragraphs of this Petition as if fully set

forth herein and further alleges as follows:

       152.     At the time Defendants designed, manufactured, marketed, sold, and distributed

the M2a-38 Hip Implant System for use by Plaintiff, Defendants knew of the use for which the

M2a-38 Hip Implant System was intended and impliedly warranted the product to be of

merchantable quality and safe for such use and that its design, manufacture, labeling, and

marketing complied with all applicable federal requirements.

       153.     Plaintiff and/or his physicians reasonably relied upon the skill and judgment of

Defendants as to whether the M2a-38™ Hip Implant System was of merchantable quality and safe

for its intended use and upon Defendants’ implied warranty as to such matters, including that it

was in compliance with all federal requirements.

       154.     Contrary to such implied warranty, Biomet’s M2a-38 Hip Implant System was not

of merchantable quality or safe for its intended use, because the product was defective as described

above, and/or it failed to comply with federal requirements.

       155.     As a direct and proximate result of Defendants’ breach of warranty, Plaintiff

suffered serious physical injury, harm, damages and economic loss, and will continue to suffer

such harm, damages and economic loss in the future.




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           156.   Plaintiff seeks damages from Defendants as alleged herein.

           WHEREFORE, Plaintiff prays this Court enter judgment in his favor and against

Defendants in an amount that is fair and reasonable in excess of Twenty-Five Thousand Dollars

($25,000.00), together with costs expended herein, and for such other and further relief as this

Court deems just and proper.

                                      COUNT VIII
                            NEGLIGENT MISREPRESENTATIONS-
                                   ALL DEFENDANTS

           157.   Plaintiff incorporates all of the preceding paragraphs of this Petition as if fully set

forth herein and further alleges as follows:

           158.   In the exercise of reasonable care, Defendants should have known that its M2a- 38

Hip Implant System failed to comply with federal requirements for safe design and manufacture

and/or was in other ways out of specification, yet Defendants negligently misrepresented to

Plaintiff and/or Plaintiff’s physicians that its device was safe and met all applicable design and

manufacturing requirements.

           159.   Plaintiff and/or Plaintiff’s physicians reasonably relied to their detriment upon

Defendants’ misrepresentations and omissions in its labeling, advertisements, and promotions

concerning the serious risks posed by these products. Plaintiff and/or Plaintiff’s physicians

reasonably relied upon Defendants’ representations that the M2a- 38 Hip Implant System was safe

for use.

           160.   As a direct and proximate result of Defendants’ negligent misrepresentations and

omissions and/or its failure to disclose its violations of federal requirements applicable to its M2a-

38 Hip Implant System, Plaintiff used Defendants’ M2a-38 Hip Implant System and Plaintiff

suffered serious physical injury, harm, damages and economic loss, and will continue to suffer




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such harm, damages and economic loss in the future.

       161.     Plaintiff seeks damages from Defendants as alleged herein.

        WHEREFORE, Plaintiff prays this Court enter judgment in his favor and against

 Defendants in an amount that is fair and reasonable in excess of Twenty-Five Thousand Dollars

 ($25,000.00), together with costs expended herein, and for such other and further relief as this

 Court deems just and proper.

                                    COUNT IX
                          FRAUDULENT MISREPRESENTATION-
                                 ALL DEFENDANTS

       162.     Plaintiff incorporates all of the preceding paragraphs of this Petition as if fully set

forth herein and alleges as follows:

       163.     Defendants falsely and fraudulently represented to the medical and healthcare

community and to the Plaintiff, and/or the FDA, and the public in general, that the subject product

had been tested and was found to be safe and/or effective for hip arthroplasty treatment.

       164.     The representations made by the Defendants were, in fact, false.

       165.     When said representations were made by the Defendants, they knew those

representations to be false and it willfully, wantonly and recklessly disregarded whether the

representations were true.

       166.     Defendants knowingly and intentionally made false representations of material

fact to Plaintiff and/or his physician, including but not limited to claims that the M2a-38 Hip

Implant System was a safe and durable hip replacement system.

       167.     These representations were made by the Defendants with the intent of defrauding

and deceiving Plaintiff, the public in general, and the medical and healthcare community in

particular, and were made with the intent of inducing the public in general, and the medical and




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healthcare community in particular, to recommend, prescribe, dispense and/or purchase the subject

product for hip arthroplasty treatment, all of which evinced a callous, reckless, willful, depraved

indifference to the health, safety and welfare of Plaintiff and the public in general.

       168.      At the time the aforesaid representations were made by the Defendants and, at the

time Plaintiff was treated with the M2a-38 Hip Implant System, the Plaintiff was unaware of the

falsity of said representations and reasonably believed them to be true.

       169.      In reliance upon said representations, Plaintiff was induced to, and did use the

subject product, thereby sustaining severe and permanent personal injuries, including but not

limited to, significant pain, discomfort, elevated metal levels resulting in revision surgery, as well

as other severe and permanent health consequences, notwithstanding the Defendants’ knowledge

of an increased risk of these injuries and side effects over other hip arthroplasty devices.

       170.      Defendants knew and were aware or should have been aware that the M2a- 38 Hip

Implant System had not been sufficiently tested, was defective in nature, and/or that it lacked

adequate and/or sufficient warnings.

       171.      Defendants knew or should have known that the M2a-38 Hip Implant System had

a potential to, could and would cause severe and grievous injury to the users of said product, and

that it was inherently dangerous in a manner that exceeded any purported, inaccurate, and/or

downplayed warnings.

       172.      Defendants brought the subject product to the market, and acted fraudulently,

wantonly and maliciously to the detriment of Plaintiff.

       173.      As a direct and proximate result of Defendants’ fraudulent misrepresentations and

omissions and/or its failure to disclose its violations of federal requirements applicable to its M2a-

38™ Hip Implant System, Plaintiff used Defendants’ M2a-38 Hip Implant System and Plaintiff




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suffered serious physical injury, harm, damages and economic loss, and will continue to suffer

such harm, damages and economic loss in the future.

         174.    Plaintiff seeks damages from Defendants as alleged herein.

         WHEREFORE, Plaintiff prays this Court enter judgment in her favor and against

Defendants in an amount that is fair and reasonable in excess of Twenty-Five Thousand Dollars

($25,000.00), together with costs expended herein, and for such other and further relief as this

Court deems just and proper.

                                         COUNT X
                                FRAUDULENT CONCEALMENT-
                                     ALL DEFENDANTS

         175.    Plaintiff incorporates all of the preceding paragraphs of this Petition as if fully set

forth herein and alleges as follows:

         176.     At all times during the course of dealing between the Defendants and Plaintiff,

Plaintiff’s healthcare providers, and/or the FDA, the Defendants misrepresented the safety of the

subject product for its intended use.

         177.     Defendants knew or were reckless in not knowing that its representations were

false.

         178.    In representations to Plaintiff, Plaintiff’s healthcare providers, and/or the FDA,

the Defendants fraudulently concealed and intentionally omitted material information, including

but not limited to, the fact that:

                a. the subject product was not as safe as other similar drugs and medications
                    indicated for hip arthroplasty;
                b. That the subject product was defective, and that it caused dangerous side
                    effects, including but not limited to the risks of developing serious and
                    dangerous side effects, including but not limited to component loosening,
                    component mal-alignment, infections, fracture of the bone, dislocation, metal



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                    sensitivity and pain, irritation and discomfort, as well as the need for additional
                    procedures to remove and replace the M2a-38 Hip Implant System, as well as
                    other severe and permanent health consequences, notwithstanding the
                    Defendants’ knowledge of an increased risk of these injuries and side effects
                    over other hip arthroplasty devices.
                 c. that the subject product was manufactured negligently;
                 d. that the subject product was manufactured defectively;
                 e. that the subject product was manufactured improperly;
                 f. that the subject product was designed negligently;
                 g. that the subject product was designed defectively; and
                 h. that the subject product was designed improperly.

          179.    Defendants were under a duty to disclose to Plaintiff, Plaintiff’s healthcare

providers, and/or the FDA the defective nature of the subject product, including but not limited to,

the risk of developing elevated metal ion levels, device failure resulting in the need for revision

surgery associated with the use of the M2a-38 Hip Implant System.

          180.    Defendants had sole access to material facts concerning the defective nature of the

subject product and its propensity to cause serious and dangerous side effects, and hence, cause

damage to persons who used the M2a-38 Hip Implant System, including Plaintiff, in particular.

          181.    Defendants’ concealment and omissions of material facts concerning, inter alia,

the safety of the M2a-38 Hip Implant System was made purposefully, willfully, wantonly, and/or

recklessly, to mislead Plaintiff = and Plaintiff’s physicians, hospitals and healthcare providers into

reliance on the use of the M2a-38 Hip Implant System, and to cause them to purchase, prescribe,

dispense and/or use the subject product.

          182.    Defendants knew that Plaintiff, Plaintiff’s healthcare providers, and/or the FDA

had no way to determine the truth behind the Defendants’ concealment and omissions, as set forth

herein.



                                                31
                                                                                                         Electronically Filed - St Louis County - October 26, 2022 - 02:44 PM
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       183.     Plaintiff, as well as Plaintiff’s doctors, healthcare providers, and/or hospitals,

reasonably relied on facts revealed which negligently, fraudulently and/or purposefully did not

include facts that were concealed and/or omitted by the Defendants.

       184.     As a direct and proximate result of Defendants’ fraudulent misrepresentations and

omissions and/or its failure to disclose its violations of federal requirements applicable to its M2a-

38 Hip Implant System, Plaintiff used Defendants’ M2a-38 Hip Implant System and the Plaintiff

suffered serious physical injury, harm, damages and economic loss and will continue to suffer such

harm, damages and economic loss in the future.

       185.     Plaintiff seeks damages from Defendants as alleged herein.

       WHEREFORE, Plaintiff prays this Court enter judgment in her favor and against

Defendants in an amount that is fair and reasonable in excess of Twenty-Five Thousand Dollars

($25,000.00), together with costs expended herein, and for such other and further relief as this

Court deems just and proper.



                                               O’LEARY, SHELTON, CORRIGAN,
                                               PETERSON, DALTON & QUILLIN, LLC

                                       By      _/s/ James D. O’Leary_________
                                               James D. O’Leary, 45964
                                               Michael J. Quillin, #61877
                                               1034 South Brentwood Blvd.
                                               Penthouse 1-A, 23rd Floor
                                               St. Louis, MO 63117
                                               (314) 405-9000 telephone
                                               oleary@osclaw.com
                                               quillin@osclaw.com




                                                32
                                                                                  Electronically Filed - St Louis County - October 26, 2022 - 02:44 PM
Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 36 of 72 PageID #: 47




                                    BACHUS & SCHANKER, L.L.C.

                                    Darin L. Schanker, CO Bar No. 23381,
                                    to be admitted Pro Hac Vice
                                    Melanie Sulkin, Esq., CO Bar No. 49944,
                                    to be admitted Pro Hac Vice
                                    101 W. Colfax Avenue, Suite 650
                                    Denver, CO 80202
                                    T: (303) 893-9800
                                    F: (303) 893-9900
                                    E: dschanker@coloradolaw.net
                                    E: melanie.sulkin@coloradolaw.net

                                    Attorneys for Plaintiff




                                     33
                                                                                                                                  Electronically Filed - St Louis County - October 26, 2022 - 02:44 PM
              Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 37 of 72 PageID #: 48
                                                                                                22SL-CC04607
In the
CIRCUIT COURT                                                                                 ┌                               ┐
                                                                                                      For File Stamp Only
Of St. Louis County, Missouri
                                                       October 26, 2022
                                                      _________________________
__________________________________________
 Keith Roberts                                        Date
Plaintiff/Petitioner
                                                      _________________________
                                                      Case Number
vs.
                                                      _________________________
 Biomet, Inc., et al.
__________________________________________            Division

                                                                                              └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff                                               pursuant
                                            Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         John Houseman                P.O. Box 50341, Clayton, MO 63105            314-899-5091
        Name of Process Server                      Address                                                       Telephone

        ___________________________________________________________________________
         Adam Neil              P.O. Box 50341, Clayton, MO 63105    314-899-5091
        Name of Process Server                      Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
        Name of Process Server                      Address or in the Alternative                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                    SERVE:
         Select Orthopedics, Inc. c/o Kevin King
        ____________________________________________              ____________________________________________
        Name                                                      Name
         9811 S. 40 Drive
        ____________________________________________              ____________________________________________
        Address                                                   Address
         St. Louis, MO 63124
        ____________________________________________              ____________________________________________
        City/State/Zip                                            City/State/Zip

        SERVE:                                                    SERVE:
         Jacob Weible
        ____________________________________________              ____________________________________________
        Name                                                      Name
         229 Green Drive
        ____________________________________________              ____________________________________________
        Address                                                   Address
         O'Fallon, MO 63368
        ____________________________________________              ____________________________________________
        City/State/Zip                                            City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                              /s/ James D. O'Leary
                                                                  ___________________________________________
                                                                  Signature of Attorney/Plaintiff/Petitioner
                                                                   45964
                                                                  ___________________________________________
        By ________________________________________               Bar No.
            Deputy Clerk                                           1034 S. Brentwood Blvd., PH1-A, 23rd Floor
                                                                  ___________________________________________
                                                                  Address
        ___________________________________________               ___________________________________________
                                                                   (314) 405-9000                    (314) 405-9999
        Date                                                      Phone No.                                     Fax No.



        CCADM62-WS         Rev. 08/16
                                                                                     Electronically Filed - St Louis County - October 26, 2022 - 02:44 PM
   Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 38 of 72 PageID #: 49


Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 39 of 72 PageID #: 50

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 22SL-CC04607
 JOSEPH SHOCKLEE DUEKER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 KEITH ROBERTS                                                  JAMES D. O'LEARY
                                                                1034 SOUTH BRENTWOOD BLVD
                                                                PENTHOUSE 1A
                                                                23RD FLOOR
                                                          vs.   ST LOUIS, MO 63117
 Defendant/Respondent:                                          Court Address:
 BIOMET, INC.                                                   ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Prod Liab                                       CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: BIOMET ORTHOPEDICS, LLC
                                      Alias:
  CSC LAWYERS INC SERV CO
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        31-OCT-2022                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       AD
                                                             Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
          _____________________________________________a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
                                    My commission expires: __________________________             _____________________________________________
            (Seal)                                                        Date                                        Notary Public




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8697            1           Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 40 of 72 PageID #: 51
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8697       2          Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 41 of 72 PageID #: 52
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8697   3     Rule 86.05; 523.030 RSMo
           Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 42 of 72 PageID #: 53
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8697   4   Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 43 of 72 PageID #: 54

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 22SL-CC04607
 JOSEPH SHOCKLEE DUEKER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 KEITH ROBERTS                                                  JAMES D. O'LEARY
                                                                1034 SOUTH BRENTWOOD BLVD
                                                                PENTHOUSE 1A
                                                                23RD FLOOR
                                                          vs.   ST LOUIS, MO 63117
 Defendant/Respondent:                                          Court Address:
 BIOMET, INC.                                                   ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Prod Liab                                       CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: BIOMET MANUFACTURING, LLC, F/K/A BIOMET MANUFACTURING CORP
                                      Alias:
  CSC-LAWYERS INC SERV CO
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        31-OCT-2022                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       AD
                                                             Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
          _____________________________________________a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
                                    My commission expires: __________________________             _____________________________________________
            (Seal)                                                        Date                                        Notary Public




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8698            1           Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 44 of 72 PageID #: 55
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8698       2          Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 45 of 72 PageID #: 56
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

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However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

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    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

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   There are several procedures designed to help parties settle lawsuits. Most of these procedures
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resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8698   3     Rule 86.05; 523.030 RSMo
           Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 46 of 72 PageID #: 57
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

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procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
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Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
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   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8698   4   Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 47 of 72 PageID #: 58

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 22SL-CC04607
 JOSEPH SHOCKLEE DUEKER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 KEITH ROBERTS                                                  JAMES D. O'LEARY
                                                                1034 SOUTH BRENTWOOD BLVD
                                                                PENTHOUSE 1A
                                                                23RD FLOOR
                                                          vs.   ST LOUIS, MO 63117
 Defendant/Respondent:                                          Court Address:
 BIOMET, INC.                                                   ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Prod Liab                                       CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: SELECT ORTHOPEDICS, INC.
                                      Alias:
  REG AGT KEVIN L KING
  9811 S. 40 DRIVE
  ST. LOUIS, MO 63124

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        31-OCT-2022                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       AD
                                                             Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
          _____________________________________________a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
                                    My commission expires: __________________________             _____________________________________________
            (Seal)                                                        Date                                        Notary Public




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8699            1           Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 48 of 72 PageID #: 59
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8699       2          Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 49 of 72 PageID #: 60
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8699   3     Rule 86.05; 523.030 RSMo
           Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 50 of 72 PageID #: 61
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8699   4   Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 51 of 72 PageID #: 62

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 22SL-CC04607
 JOSEPH SHOCKLEE DUEKER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 KEITH ROBERTS                                                  JAMES D. O'LEARY
                                                                1034 SOUTH BRENTWOOD BLVD
                                                                PENTHOUSE 1A
                                                                23RD FLOOR
                                                          vs.   ST LOUIS, MO 63117
 Defendant/Respondent:                                          Court Address:
 BIOMET, INC.                                                   ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Prod Liab                                       CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: JACOB WEIBLE
                                      Alias:
  229 GREEN DRIVE
  O'FALLON, MO 63368


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        31-OCT-2022                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       AD
                                                             Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
          _____________________________________________a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
                                    My commission expires: __________________________             _____________________________________________
            (Seal)                                                        Date                                        Notary Public




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8700            1           Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 52 of 72 PageID #: 63
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8700       2          Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 53 of 72 PageID #: 64
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8700   3     Rule 86.05; 523.030 RSMo
           Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 54 of 72 PageID #: 65
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8700   4   Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 55 of 72 PageID #: 66

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 22SL-CC04607
 JOSEPH SHOCKLEE DUEKER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 KEITH ROBERTS                                                  JAMES D. O'LEARY
                                                                1034 SOUTH BRENTWOOD BLVD
                                                                PENTHOUSE 1A
                                                                23RD FLOOR
                                                          vs.   ST LOUIS, MO 63117
 Defendant/Respondent:                                          Court Address:
 BIOMET, INC.                                                   ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Prod Liab                                       CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: BIOMET JONES & ASSOCIATES, INC.
                                      Alias:
  SERVE SEC OF STATE
  600 WEST MAIN
  JEFFERSON CITY, MO 65101

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        31-OCT-2022                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       AD
                                                             Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
          _____________________________________________a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
                                    My commission expires: __________________________             _____________________________________________
            (Seal)                                                        Date                                        Notary Public




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8701            1           Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 56 of 72 PageID #: 67
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8701       2          Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 57 of 72 PageID #: 68
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
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the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

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and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
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panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8701   3     Rule 86.05; 523.030 RSMo
           Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 58 of 72 PageID #: 69
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

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representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

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individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
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Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

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a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-8701   4   Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 59 of 72 PageID #: 70

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 22SL-CC04607
 JOSEPH SHOCKLEE DUEKER
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 KEITH ROBERTS                                               JAMES D. O'LEARY
                                                             1034 SOUTH BRENTWOOD BLVD
                                                             PENTHOUSE 1A
                                                             23RD FLOOR
                                                       vs.   ST LOUIS, MO 63117
 Defendant/Respondent:                                       Court Address:
 BIOMET, INC.                                                ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Pers Injury-Prod Liab                                                                                                    (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: BIOMET, INC.
                              Alias:
  REG AGT CORP SERVICE COMPANY
  135 N. PENNSYLVANIA STSTE 1610
  INDIANAPOLIS, IN 46204
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov, or
                              through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
    ST. LOUIS COUNTY          proceeding.

                                 31-OCT-2022                                        ____________________________________________________
                                  Date                                                                         Clerk
                                Further Information:
                                AD
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person at least 18 years of age residing therein.

                 (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                  _____________________________________________ (name) _____________________________________________ (title).
                 other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________        ___________________________________________________________
                  Printed Name of Sheriff or Server                                       Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
           (Seal)                                    authorized to administer oaths in the state in which the affiant served the above summons.
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-1002     1        (22SL-CC04607)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 60 of 72 PageID #: 71
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




                                   Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion and/or petition must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion and/or petition when offered to him, the return
     shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition and the
     Defendant’s/Respondent's refusal to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual personally or by
     leaving a copy of the summons and motion and/or petition at the individual's dwelling house or usual place of abode with
     some person of the family over 15 years of age, or by delivering a copy of the summons and motion and/or petition to an agent
     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

          Service may be made in any state or territory in the United States. If served in a territory, substitute the word "territory"
     for the word "state."

          The officer making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to appear
     in court. The return should be made promptly, and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-1002         2         (22SL-CC04607)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                         506.500, 506.510 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 61 of 72 PageID #: 72



                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.
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OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-1002   3   (22SL-CC04607)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                   506.500, 506.510 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 62 of 72 PageID #: 73



   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-1002   4   (22SL-CC04607)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 63 of 72 PageID #: 74

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 22SL-CC04607
 JOSEPH SHOCKLEE DUEKER
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 KEITH ROBERTS                                               JAMES D. O'LEARY
                                                             1034 SOUTH BRENTWOOD BLVD
                                                             PENTHOUSE 1A
                                                             23RD FLOOR
                                                       vs.   ST LOUIS, MO 63117
 Defendant/Respondent:                                       Court Address:
 BIOMET, INC.                                                ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Pers Injury-Prod Liab                                                                                                    (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: BIOMET U.S. RECONSTRUCTION, LLC
                              Alias:
  REG AGT CORP SERVICE COMPANY
  135 N. PENNSYLVANIA SUITE 1610
  INDIANAPOLIS, IN 46204
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov, or
                              through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
    ST. LOUIS COUNTY          proceeding.

                                 31-OCT-2022                                        ____________________________________________________
                                  Date                                                                         Clerk
                                Further Information:
                                AD
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person at least 18 years of age residing therein.

                 (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                  _____________________________________________ (name) _____________________________________________ (title).
                 other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________        ___________________________________________________________
                  Printed Name of Sheriff or Server                                       Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
           (Seal)                                    authorized to administer oaths in the state in which the affiant served the above summons.
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-1003     1        (22SL-CC04607)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 64 of 72 PageID #: 75
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
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     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

          Service may be made in any state or territory in the United States. If served in a territory, substitute the word "territory"
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                                                                                                                                         506.500, 506.510 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 65 of 72 PageID #: 76



                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



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OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-1003   3   (22SL-CC04607)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                   506.500, 506.510 RSMo
            Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 66 of 72 PageID #: 77



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                                                                                                 506.500, 506.510 RSMo
                                                                                  Electronically Filed - St Louis County - November 07, 2022 - 09:55 AM
Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 67 of 72 PageID #: 78
                                                                                  Electronically Filed - St Louis County - November 07, 2022 - 09:55 AM
Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 68 of 72 PageID #: 79
                                                                                  Electronically Filed - St Louis County - November 07, 2022 - 09:55 AM
Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 69 of 72 PageID #: 80
                                                                                  Electronically Filed - St Louis County - November 07, 2022 - 09:55 AM
Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 70 of 72 PageID #: 81
                                                                                  Electronically Filed - St Louis County - November 07, 2022 - 09:55 AM
Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 71 of 72 PageID #: 82
                                                                                  Electronically Filed - St Louis County - November 07, 2022 - 09:55 AM
Case: 4:22-cv-01283-SPM Doc. #: 1-1 Filed: 11/30/22 Page: 72 of 72 PageID #: 83
